Case 4:24-cv-00953-P    Document 51      Filed 01/06/25     Page 1 of 2   PageID 370



                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                                   No. 4:24-cv-00953-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                     ORDER
        Before the Court is Eli Lilly and Company’s Motion to Intervene.
     ECF No. 34. Plaintiffs have filed notice that they withdrawal their
     opposition to the intervention. ECF No. 50. The Court, finding that good
     cause exists for Eli Lilly’s intervention in this case under Federal Rule
     of Civil Procedure 24, hereby GRANTS Eli Lilly’s Motion to Intervene.

        While this Order resolves half of the matters set for a hearing on
     January 10, 2025, the Court finds it appropriate to continue with the
     hearing as scheduled. The Court finds it prudent to do so for two
     reasons.

          First, having reviewed the submissions in this matter, the Court
     anticipates that the Parties may have a dispute over the FDA’s
     production of confidential information, which serves as the initiating
     action for the proposed briefing schedule. See ECF No. 38. Second, the
     Court believes that consolidation is appropriate, and would like to
     convert the Plaintiffs’ impending motion for preliminary injunction into
     a motion for summary judgment under Federal Rule of Civil Procedure
     65. H & W Indus., Inc. v. Formosa Plastics Corp., USA, 860 F.2d 172,
     177 (5th Cir. 1988). “Summary judgment serves as ‘the mechanism for
     deciding, as a matter of law, whether the agency action is . . . consistent
     with the APA.’” Brown v. U.S. Dep’t of Educ., 640 F. Supp. 3d 644, 657
     (N.D. Tex. 2022), vacated and remanded sub nom. on other grounds Dep’t
Case 4:24-cv-00953-P   Document 51     Filed 01/06/25   Page 2 of 2   PageID 371



     of Educ. v. Brown, 600 U.S. 551 (2023) (internal citation omitted).
     Accordingly, each party should come prepared to discuss any issues it
     may have with the proposed briefing schedule. Additionally, the Parties
     should come prepared to inform the undersigned whether they object to
     the Court converting the motion for preliminary injunction to a motion
     for summary judgment.

        SO ORDERED on this 6th day of January 2025.




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